Case 9:09-cv-80409-KAM Document 72 Entered on FLSD Docket 02/12/2010 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                              NO. 09-80409-CIV-MARRA/JOHNSON

  ERIC RUTENBERG,

         Plaintiff,

  v.

  BOYNTON CAROLINA ALE HOUSE, LLC,
  a Florida Limited Liability Company,
  d/b/a CAROLINA ALE HOUSE,

        Defendant.
  ______________________________________/

                                        FINAL JUDGMENT

         Based upon the jury’s verdict, judgment is hereby entered in favor of Plaintiff Eric

  Rutenberg, and against Defendant Boynton Carolina Ale House, LLC, in the amount of

  $9,200.001, which shall accrue post-judgment interest thereon at the rate of 0.33 % per annum

  from the date of this Final Judgment, for which let execution issue.

         The Court reserves jurisdiction to resolve any appropriate post-trial motions.

         The Clerk of Court shall CLOSE THIS CASE.

         DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

  Florida, this 12th day of February, 2010.

                                                        _________________________________
                                                        KENNETH A. MARRA
  Copies furnished to:                                  United States District Court
  all counsel of record

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           Defense counsel stipulated on the record that if Plaintiff prevailed, he would be entitled
  to overtime compensation in the amount of $4,600.00, plus liquidated damages of an equal
  amount.

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